UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF TENNESSEE

AT GREENEVILLE
UNITED STATES OF AMERICA )
)
v. ) 2:15-CR-107-002
) JUDGE JORDAN
VICTOR HUGO RAMIREZ-VARGAS )

PLEA AGREEMENT

The United States of America, by the United States Attorney for the Eastern District of
Tennessee, and the defendant, Victor Hugo Ramirez-Vargas, and the defendant’s attorney, Marsha
M. Arnurius have agreed upon the following:

1. The defendant will plead guilty to the following counts in the superseding
indictment: |

a) Count One, that is, a conspiracy to distribute and possess with the intent to
distribute 5 kilograms or more of a mixture and substance containing a detectable amount of
cocaine, a Schedule I] controlled substance, in violation of 21 U.S.C. §§ 846 and 841(a)(1),
(b)(1N(A).

The punishment for this offense is as follows: The maximum penalty to which the
defendant will be exposed by virtue of the guilty plea is a minimum mandatory term of
imprisonment of ten years up to life, a fine of up to $10,000,000,.00, a term of supervised release
of at least five years to life, and a mandatory assessment of $100.00.

b) Count Two, that is, conspiracy to distribute and possess with the intent to
distribute 50 grams or more of methamphetamine (actual), a Schedule I] controlled substance, in

violation of 21 U.S.C. §§ 846 and 841 (a)(1),(b)(1)(A).

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The punishment for this offense is as follows: The maximum penalty to which the
defendant will be exposed by virtue of the guilty plea is a minimum mandatory term of
imprisonment of ten years up to life, a fine of up $10,000,000.00, a term of supervised release of
at least five years to life, and a mandatory assessment of $100.00.

2. The defendant has read the superseding indictment, discussed the charges and
possible defenses with defense counsel, and understands the crime charged. The defendant is
pleading guilty because the defendant is in fact guilty. In order to be guilty, the defendant
agrees to the following: As to Counts One and Two, the defendant agrees that each of the
following elements of the crime must be proven beyond a reasonable doubt: (1) An agreement to
violate drug laws; (2) knowledge and intent to join the conspiracy; and (3) participation in the
conspiracy.

3, In consideration of the defendant's guilty plea, the United States agrees to move the
Court at the time of sentencing to dismiss the remaining counts against the defendant in this
superseding indictment.

4, In support of the defendant’s guilty plea, the defendant agrees and stipulates to the
following facts, which satisfy the offense elements. These are the facts submitted for purposes
of the defendant’s guilty plea. They do not necessarily constitute all of the facts in the case.
Other facts may be relevant to sentencing. Both the defendant and the United States retain the
right to present additional facts to the Court to ensure a fair and appropriate sentence in this case.

a) Through the testimony of numerous witnesses, the United States would
demonstrate, beyond a reasonable doubt, that beginning in approximately April of 2012 and

continuing to on or about October 14, 2015, in the Eastern District of Tennessee and elsewhere,

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the defendant did knowingly, intentionally, and without authority, conspire to distribute and

' possess with the intent to distribute at least 5 but less than 15 kilograms of cocaine and
approximately 1.4 kilograms (actual) of methamphetamine, both being Schedule II controlled
substances,

b) On July 17, 2014, a confidential informant working on behalf of law enforcement
called co-defendant Miguel Martinez to arrange a seven ounce cocaine purchase. Martinez said
he had to call someone to bring the requested cocaine and told the informant to come by 2040
Rosella Street in Morristown, Tennessee to pick up the cocaine. Martinez called the defendant,
and shortly thereafter, surveillance agents observed a white Chevrolet truck registered to the
defendant arrive at 2040 Rosella Street. The informant then traveled to 2040 Rosella Street and
purchased the seven ounces of cocaine from Martinez. Meanwhile, when the defendant left
Martinez, he was followed by surveillance agents to 2552 Derby Way in Sevierville, then toa
Dollar General store and then to the Douglas Dam lakefront. An undercover surveillance officer
approached the defendant and asked to borrow the phone sitting on the picnic table next to the
defendant in an attempt to identify the phone number. The defendant refused. Within
moments of the undercover agent leaving the defendant at the lakefront area, other agents dialed
the same number that Martinez had called earlier to obtain the seven ounces of cocaine to sell to
the informant. Surveillance agents at the lakefront area observed the defendant pick up and
answer the cell phone sitting next to him that was dialed by law enforcement agents.

c) On April 7, 2015, co-defendant Morales placed a Title-III intercepted call to the
defendant. During the call, Morales discussed with the defendant in numerical terms the ounces

of methamphetamine that he had for sale. Morales also told the defendant that he had a customer

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who had asked for seven ounces of methamphetamine.

d) On April 15, 2015, Morales placed a Title ITI intercepted call to the defendant.
During the call, the defendant asked Morales if had gotten rid of a quantity of methamphetamine.
Morales accounted for the ones he sold and told the defendant that he would collect the money on
the ones that were outstanding so the defendant could have the money together for their source of
supply to repay or purchase additional amounts,

€) On April 18, 2015, a number of Title IIT calls between Morales and an unindicted
co-conspirator were intercepted. The unindicted co-conspirator asked how much Morales would
sell the “whole food” to him and Morales said he was going to leave it at 1:1 so he could earn “50”.
They agreed to meet later. Subsequent Title III calls were intercepted between Morales and the
defendant on the same day. » During these calls, Morales said he would be able to sell to another
guy. Later that day, in a Title-IIT intercepted call, the unindicted co-conspirator told Morales that
he had left the “errand” with his daughter at the house. They agreed to meet later. Surveillance
officers gathered at 1381 Taft Street. At5:11 pm, Morales arrived in hisred Kia. Ina subsequent
Title ITI intercepted call, Morales called the unindicted co-conspirator to let him know that he was
outside his house. Surveillance officers then observed the co-conspirator come out of the
apartment and walk to meet Morales at his vehicle.

f) On April 27, 2015, the defendant called co-defendant Antonio Morales in a Title
II] intercepted call and reported that he had learned ten individuals were going to be arrested within
the next 15 days, including him and Morales. Morales and the defendant talked about laying low
for the month of May and the defendant said he felt like he was being followed. The defendant

said he was going to live in Knoxville because if the police put pressure on another individual,

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then he would talk. The defendant told Morales they were not safe and that the “dude” told him
“you guys are not safe,” that it was “both of you... and eight more.” Morales told the defendant,
“this thing is bad.” The defendant repeated they needed to leave town. The defendant told
Morales that “his sister told him” that “they did not know who wore the biggest sombrero, if you
or I, man...” and that they were “confused, that they don’t know who is the one that wears the
sombrero, the biggest one,” claiming that the police did not know who the bigger drug dealer was:
the defendant or Morales.

g) The evidence shows that on April 28, 2015, an undercover agent and an informant
met with co-defendant Jesus Altamirano at 133 Cracker Barrel Road in Morristown. The meeting
was supposed to be between co-defendant Antonio Morales and the undercover agent. However,
Morales did not show up for the meeting. The undercover agent told Altamirano that he needed
three kilograms of cocaine and that he had previously discussed this with Morales, The
undercover agent and Altamirano negotiated the price per kilogram of cocaine between $31,000
and $35,000, but Altamirano said he would have to confirm the price with his “guy,” the defendant.
At the conclusion of the meeting, the undercover agent showed Altamirano a compartment in the

- bed of his vehicle and $100,000.00 in cash for the purchase of the three kilograms of cocaine,
based upon the prior discussion between the undercover agent and Morales about how they were
going to conduct deals in the future. Altamirano told the undercover agent that they would be in
touch about the price after he talked with his guy, the defendant. The defendant admits that he
supplied co-defendant Altamirano with quantities of cocaine and methamphetamine for resale.

h) On April 29, 2015, two undercover law enforcement officers met with Altamirano

at the Morristown Home Depot and purchased approximately two ounces of methamphetamine

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for $2,600.00 from him in a recorded and surveilled transaction. Altamirano called the
defendant after the transaction was over to make arrangements to deliver money to him from the
sale of the methamphetamine.

i) On April 30, 2015, law enforcement officers attempted to serve an arrest warrant
on the defendant after he left his residence in Bybee, Tennessee. The defendant fled from law
enforcement. As the defendant’s vehicle was ultimately stopped, a law enforcement officer
pulled his vehicle in front of the defendant’s vehicle. When an officer then approached the
defendant’s vehicle on foot, the defendant made an abrupt maneuver to pull back out again.
Agents had to pursue the defendant’s vehicle and it was stopped again shortly thereafter and the
defendant was placed under arrest. The defendant waived his Miranda rights, gave consent for
officers to search his residence and told his girlfriend, who was at his house, that it was okay for
officers to come inside and search, The defendant’s girlfriend subsequently also gave both
verbal and written consent to search their residence. Inside the residence, officers found large
quantities of methamphetamine and cocaine. Agents also found a loaded Ruger LCP 380, an
unloaded Raven, .25 caliber pistol and additional rounds of .380 ammunition. The
methamphetamine seized from the defendant’s residence was 223.2 net grams of
methamphetamine (purity of 95.8 percent) for an actual amount of methamphetamine of 213.8
grams. The cocaine seized from the defendant’s residence was 563.8 grams of cocaine. The
Ruger LCP 380 caliber pistol with a magazine and ammunition was located under a bed in the
defendant’s bedroom with a few small baggies of drugs and some fraudulent ID documents. In
a living room next to that, agents found the Raven .25 caliber pistol with an empty cartridge,

additional 380 ammunition and approximately 21 individual wrapped baggies of cocaine. In

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another nearby room, the kitchen, agents located approximately 10 baggies of methamphetamine.
In another room next to that one, agents located additional drugs, a kilogram press that was
approximately six feet tall and a digital scale. A receipt from Bank of America showing a
deposit of $6,000.00 was found on the defendant’s person. The parties agree that the two level
enhancement pursuant to Section 2D1.1(b)(1) applies in this case and that an enhancement
pursuant to 3B1.1 does not apply to this case.

dD On April 30, 2015, the defendant was again fully advised of his Miranda rights,
executed a written Waiver and gave a statement to law enforcement agents. In his statement,
the defendant admitted that all of the drugs found inside his residence in Bybee during the search
belonged to him. In so doing, the defendant made it clear that he took full responsibility for all
the drugs inside the residence and stated that his live in girlfriend was not responsible for them.

k) The defendant admits that he has been deported from the United States back to
Mexico a total of five prior times. On the most recent occasion, the final order of deportation
was issued for him on January 7, 2013 from Nogales, Arizona and he was deported on February
5, 2013.

1) | The defendant agrees and stipulates that he conspired to distribute and possess with
the intent to distribute approximately 5 kilograms of cocaine and approximately 1.4 kilograms of
actual methamphetamine between April 2012 and October 14, 2015 in the Eastern District of
Tennessee and elsewhere. The defendant further agrees that 5,000 grams of cocaine converts to
1,000 kilograms of frarijuana and 1,400 grams of actual methamphetamine converts to 28,000
kilograms of marijuana. Overall, the defendant agrees that he is accountable for 29,000

kilograms of marijuana.

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5. The defendant is pleading guilty because the defendant is in fact guilty. The

defendant understands that, by pleading guilty, the defendant is giving up several rights, including:

a) the right to plead not guilty;

b) the right to a speedy and public trial by jury;

c) the right to assistance of counsel at trial;

d) the right to be presumed innocent and to have the burden of proof placed on

the United States to prove the defendant guilty beyond a reasonable doubt;

e) the right to confront and cross-examine witnesses against the defendant;

f) the right to testify on one’s own behalf, to present evidence in opposition to
the charges and to compel the-attendance of witnesses; and | |

g) the right not to testify and to have that choice not used against the defendant.

6. The parties agree that the appropriate disposition of this case would be the

following as to each count:

a) The Court may impose any lawful term(s) of imprisonment, any lawful fine(s),
and any lawful term(s) of supervised release up to the statutory maximum(s);

b) The Court will impose special assessment fees as required by law; and

c) The Court may order forfeiture as applicable and restitution as appropriate.
No promises have been made by any representative of the United States to the defendant as to what
the sentence will be in this case. Any estimates or predictions made to the defendant by defense
counsel or any other person regarding any potential sentence in this case are not binding on the

Court, and may not be used as a basis to rescind this plea agreement or withdraw the defendant’s

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guilty plea(s). The defendant understands that the sentence in this case will be determined by the
Court after it receives the presentence investigation report from the United States Probation Office
and any information presented by the parties. The defendant acknowledges that the sentencing
determination will be based upon the entire scope of the defendant’s criminal conduct, the
defendant’s criminal history, and pursuant to other factors and guidelines as set forth in the
Sentencing Guidelines and the factors set forth in 18 U.S.C. § 3553.
7, Given the defendant’s agreement to plead guilty, the United States will not oppose
a two-level reduction for acceptance of responsibility under the provisions of Section 3E1.1(a) of
the Sentencing Guidelines. Further, if the defendant's offense level is 16 or greater, and the
defendant is awarded the two-level reduction pursuant to Section 3EI.1(a), the United States
agrees to move, at or before the time of sentencing, the Court to decrease the offense level by one
additional level pursuant to Section 3E1.1(b) of the Sentencing Guidelines. Should the defendant
engage in any conduct or make any statements that are inconsistent with accepting responsibility
for the defendant’s offense(s), including violations of conditions of release or the commission of
any additional offense(s) prior to sentencing, the United States will be free to decline to make such
motion, to withdraw that motion if already made, and to recommend to the Court that the defendant

not receive any reduction for acceptance of responsibility under Section 3E1.1 of the Sentencing

Guidelines.
8. The defendant agrees to pay the special assessment in this case prior to sentencing.
9. Unless otherwise limited by an agreed preliminary order of forfeiture, the defendant

agrees to forfeit to the United States immediately and voluntarily any and all assets and property,

or portions thereof, which are in the possession or control of the defendant or the defendant’s

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nominees that were used and intended to be used in any manner or part to commit and to facilitate
the commission of a violation of Title 2! United States Code Sections 846 and/or 841, and/or any
and all assets and property, or portions thereof, subject to forfeiture as proceeds of the defendant’s
criminal activities which are in the possession or control of the defendant or the defendant’s
nominees. The defendant further agrees to assist the United States fully in the identification,
recovery, and return to the United States of any other assets or portions thereof subject to forfeiture.
The defendant further agrees to make a full and complete disclosure of all assets over which the
defendant exercises control and those which are held or controlled by a nominee. The defendant
agrees to forfeit all interests in the properties as described above and to take whatever steps are
necessary to pass clear title to the United States. These steps include, but are not limited to, the
surrender of title, the signing-of a consent decree of forfeiture, and the signing of any other
documents necessary to effectuate such transfers. The defendant agrees not to object to any civil
or criminal forfeiture brought against these properties. The defendant agrees to take all such steps
to locate such property and to pass title to the United States before the defendant’s sentencing.

10.‘ Financial Obligations. The defendant agrees to pay all fines and restitution
imposed by the Court to the Clerk of Court. The defendant also agrees that the full fine and/or
restitution amount(s) shall be considered due and payable immediately. If the defendant cannot
pay the full amount immediately and is placed in custody or under the supervision of the Probation
Office at any time, the defendant agrees that the Bureau of Prisons and the Probation Office will
have the authority to establish payment schedules to ensure payment of the fine and/or restitution.
The defendant further agrees to cooperate fully in efforts to collect any financial obligation

imposed by the Court by set-off of federal payments, execution on non-exempt property, and any

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other means the United States deems appropriate. The defendant and counsel also agree that the
defendant may be contacted post-judgment regarding the collection of any financial obligation
imposed by the Court without notifying the defendant’s counsel and outside the presence of the
defendant’s counsel. In order to facilitate the collection of financial obligations to be imposed
with this prosecution, the defendant agrees to disclose fully all assets in which the defendant has
any interest or over which the defendant exercises control, directly or indirectly, including those
held by a spouse, nominee, or other third party. In furtherance of this agreement, the defendant
additionally agrees to the following specific terms and conditions:

a) If so requested by the United States, the defendant will promptly submit a
completed financial statement to the U.S. Attorney’s Office, in a form it provides and as it directs.
The defendant promises that’ such financial statement and disclosures will be complete, accurate,
and truthful,

b) The defendant expressly authorizes the U.S. Attorney’s Office to obtain a
credit report on the defendant in order to evaluate the defendant’s ability to satisfy any financial
obligation imposed by the Court.

c) If so requested by the United States, the defendant will promptly execute
authorizations on forms provided by the US. Attorney’s office to permit the U.S. Attorney’s
Office to obtain financial and tax records of the defendant

11. The defendant acknowledges that the principal benefits to the United States of a
plea agreement include the conservation of limited government resources and bringing a certain
end to the case. Accordingly, in consideration of the concessions made by the United States in

this agreement and as a further demonstration of the defendant’s acceptance of responsibility for

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the offense(s) committed, the defendant voluntarily, knowingly, and intentionally agrees to the
following:

a) The defendant will not file a direct appeal of the defendant’s conviction(s)
or sentence with one exception: The defendant retains the right to appeal a sentence imposed
above the sentencing guideline range determined by the Court or above any mandatory minimum
sentence deemed applicable by the Court, whichever is greater. The defendant also waives the
right to appeal the Court’s determination as to whether the defendant’s sentence will be
consecutive or partially concurrent to any other sentence.

b) The defendant will not file any motions or pleadings pursuant to 28 U.S.C.
§ 2255 or otherwise collaterally attack the defendant’s conviction(s) or sentence, with two
exceptions: The defendant retains the right to file a § 2255 motion as to (i) prosecutorial
misconduct not known to the defendant by the time of the entry of judgment and (ii) ineffective
assistance of counsel.

c) The defendant will not, whether directly or by a representative, request or
receive from any department or agency of the United States any records pertaining to the
investigation or prosecution of this case, including, without limitation, any records that may be
sought under the Freedom of Information Act, 5 U.S.C. Section 552, or the Privacy Act of 1974,
5 U.S.C. Section 552a,

12, The defendant agrees that he is a removable alien and agrees to a judicial order of
removal. The defendant waives any and all forms of relief from removal or exclusion, and agrees
to abandon any pending applications for such relief and to cooperate with the Department of

Homeland Security during removal proceedings. The defendant further agrees to obtain any

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travel documents, including but not limited to identification documents and passport, necessary to
facilitate the defendant's return to his country of origin. |

13. This plea agreement becomes effective once it is signed by the parties and is not
contingent on the defendant’s entry ofa guilty plea, Ifthe United States violates the terms of this
plea agreement, the defendant will have the right to withdraw from this agreement. If the
defendant violates the terms of this plea agreement in any way (including but not limited to failing
to enter guilty plea(s) as agreed herein, moving to withdraw guilty plea(s) after entry, or by
violating any court order or any local, state or federal law pending the resolution of this case), then
the United States will have the right to void any or all parts of the agreement and may also enforce
whatever parts of the agreement it chooses. In addition, the United States may prosecute the
defendant for any and all federal crimes that the defendant committed related to this case, including
any charges that were dismissed and any other charges which the United States agreed not to
pursue. The defendant expressly waives any statute of limitations defense and any constitutional
or speedy trial or double jeopardy defense to such a prosecution. The defendant also understands
that a violation of this plea agreement by the defendant does not entitle the defendant to withdraw
the defendant’s guilty plea(s) in this case.

14. The United States will file a supplement in this case, as required in every case by
the Local Rules of the United States District Court for the Eastern District of Tennessee, even
though there may or may not be any additional terms. If additional terms are included in the
supplement, they are hereby fully incorporated herein.

15. This plea agreement and supplement constitute the full and complete agreement

and understanding between the parties concerning the defendant’s guilty plea to the above-

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referenced charge(s), and there are no other agreements, promises, undertakings, or understandings
between the defendant and the United States. The parties understand and agree that the terms of
this plea agreement can be modified only in writing signed by all of the parties

and that any and all other promises, representations, and statements whether made before,

contemporaneous with, or after this agreement, are null and void.

NANCY STALLARD HARR
ACTING UNITED STATES ATTORNEY

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Date DONALD pyNe AYLOR
Assistant United States Attorney

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Date VICTOR HUGO RAMIREZ-VARGAS
Defendant
h ,
Date MARSHA M. ARNURIUS

Attorney for the Defendant

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